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                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA

SUSANNE GIONET                                         CASE NO:
2841 DEBARR RD. STE 20
ANCHORAGE, AK, 99508-2945,

               Plaintiff,

vs.

NANCY PELOSI in her official capacity as
Speaker of the United States House of
Representatives.
Office of the Speaker.
The U.S. Capitol. Suite H-232,
U.S. House of Representatives
Washington, D.C. 20515
Telephone: (202) 225-0100

      and

BENNIE G. THOMPSON, in his official
capacity as Chair of the Select Committee to
Investigate the January 6th Attack on the United
States Capitol.
Rayburn House Office Building Suite 2466
U.S. House of Representatives
Washington, D.C. 20515
Telephone: (202) 225-5876,

      and

ELIZABETH L. CHENEY, in her official
capacity as a member of the United States
House of Representatives.
Cannon House Office Building, Suite 416
U.S. House of Representatives
Washington D.C. 20515
Telephone: (202) 225-2311

      and

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ADAM B. SCHIFF, in his official capacity as a
member of the United States House of
Representatives
Rayburn House Office Building, Suite 2309
U.S. House of Representatives
Washington, D.C. 20515
Telephone: (202) 225-4176

     and

JAMIE B. RASKIN, in his official capacity as a
member of the United States House of
Representatives
Rayburn House Office Building, Suite 2242
U.S. House of Representatives
Washington, D.C. 20515
Telephone: (202) 225-5341

     and

SUSAN E. LOFGREN, in her official capacity
as a member of the United States House of
Representatives
Longworth House Office Building, Suite 1401
U.S. House of Representatives
Washington, DC. 20515
Telephone: (202) 225-3072

     and

ELAINE G. LURIA, in her official capacity as a
member of the United States House of
Representatives
Cannon House Office Building, Suite 412
U.S. House of Representatives
Washington, D.C. 20515
Telephone: (202) 225-4215

     and

PETER R. AGUILAR, in his official capacity as
a member of the United States House of
Representatives
Cannon House Office Building, Suite 109
U.S. House of Representatives
                                                 2
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Washington, D.C. 20515
Telephone: (202) 225-3201

      and

STEPANIE MURPHY, in her official capacity
as a member of the United States House of
Representatives
Longworth House Office Building, Suite 1710
U.S. House of Representatives
Washington, D.C. 20515
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      and

ADAM D. KINZINGER, in his official capacity
as a member of the United States House of
Representatives
Rayburn House Office Building, Suite 3635
U.S. House of Representatives
Washington, D.C. 20515
Telephone: (202) 225-3201

      and

SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6 ATTACK ON THE
UNITED
STATES CAPITOL
Longworth House Office Building
Washington, D.C. 20515
Telephone (202) 225-7800

      and

JOHN WOOD, in his official capacity as
Investigative Counsel for the Minority Members
of the House Select Committee to Investigate
the January Attack on the United States Capitol
Longworth House Office Building
Washington, D.C. 20515
Telephone: (202) 225-7800

      and

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TIMOTHY J. HEAPHY, in his official capacity
as Chief Investigative Counsel for the House
Select Committee to Investigate the January 6
Attack on the United States Capitol
Longworth House Office Building
Washington, D.C. 20515
Telephone: (202) 225-7800

      and

VERIZON COMMUNICATIONS, INC.
Serve: General Counsel and Executive
Vice President Craig Silliman
1095 Avenue of the Americas
New York, NY 10036

      and

CELLCO PARTNERSHIP
d/b/a VERIZON WIRELESS
Serve: General Counsel
ATTN: VSAT
1 Verizon Way
Basking Ridge, New Jersey 07920
Telephone (908) 559-5490

               Defendants.
______________________________________________

 COMPLAINT AGAINST THE HOUSE SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6 ATTACK ON THE UNITED STATES CAPITOL FOR INJUNCTIVE
     AND DECLARATORY RELIEF OF SUBPOENA FOR PHONE RECORDS

       Plaintiff, Susanne Gionet, a natural person, at all times relevant herein a private citizen,

also a permanent resident of Anchorage, AK., appearing with counsel Thornley Law Firm, P.C.,

sues for declaratory judgment pursuant to Fed. R. Civ. P. 57 and 28 U.S.C. § 2201, et seq., for an

injunction to invalidate and prohibit enforcement of two overly broad and unduly burdensome

subpoenas and pursuant to 18 U.S.C. § 2702, motions for relief under Fed. R. Civ. P. 57 for a



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speedy resolution and emergency injunctive relief under Fed. R. Civ. P. 65 consistent with the

declaratory judgment. For her grounds, states as follows:

       INTRODUCTION

       1. Plaintiff, Susanne Gionet (hereinafter “Susanne”), a private citizen, comes forth with

           this complaint to request this Court invalidate and deny the enforcement of a subpoena

           from the Select Committee of the U.S. House of Representatives of the U.S. House of

           Representatives (the “Select Committee”) issued to VERIZON without legal authority

           in violation of the Constitution of the United States.

       2. The Select Committee illegally seeks to compel information from Verizon regarding

           two lines of service on Susanne’s family plan. The Select Committee lacks the lawful

           authority to demand such information it seeks to obtain. Further the Select Committee

           seeks to violate protected privileged conversations such as attorney client privilege and

           marital privilege.

       3. Susanne lives in Anchorage, AK. She is the account owner of a family plan with

           Verizon Wireless with multiple users.

       4. Anthime Gionet (hereinafter “Anthime”) is the son of Susanne and did use at least one

           of the lines from the family plan.

       5. On December 10, 2020, Anthime was charged with a misdemeanor in Scottsdale

           Arizona and retained counsel for representation in Scottsdale City Court case number

           CR2020-016964.

       6. Counsel had privileged communications with Anthime on his cell phone regarding his

           representation.


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7. Shortly thereafter on January 6, 2020, Anthime attended a rally in Washington D.C. to

   document the happenings that would take place. He walked with many others to the

   Capitol where another permitted rally was to take place. Anthime had no intentions of

   disrupting Congress. Many individuals had taken down fences at the Capitol and had

   entered the building when he arrived at the Capitol.

8. Anthime has regularly documented rallies, protests, and demonstrations throughout his

   career in the media. January 6, 2020, was no exception. Anthime entered the Capitol

   along with several other media sources. His entire entry was documented via a live

   stream. During the live stream he repeatedly tells others not to break items or vandalize

   the Capitol.

9. Many of the liberal leaning media sources that also entered the Capitol were not

   charged with any crime, but Anthime was, despite his actions in conformity therewith

   others conducting the same or similar activity.

10. Additionally, counsel had privileged communications with Anthime after he left

   Washington D.C. on January 6, 2020.

11. Anthime is currently charged as a defendant in the U.S. District Court for the District

   of Columbia in case number 1:21-mj-00014.

                                     PARTIES

12. Plaintiff Susanne Gionet is a private citizen.

13. Defendant Nancy Pelosi (“Speaker Pelosi”) is a Democrat member of the U.S. House

   of Representatives and Speaker of the House.

14. Defendant Bennie G. Thompson is a Democrat member of the U.S. House of

   Representatives and serves as the Chairman of the Select Committee to Investigate
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   the January 6 Attack on the United States Capitol. The subpoenas challenged herein

   were issued by his authority.

15. Defendant Elizabeth L. Cheney is a Republican member of the U.S. House of

   Representatives and member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.

16. Defendant Adam B. Schiff is a Democrat member of the U.S. House of

   Representatives and a member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.

17. Defendant Jaime B. Raskin is a Democrat member of the U.S. House of

   Representatives and a member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.

18. Defendant Susan E. Lofgren is a Democrat member of the U.S. House of

   Representatives and a member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.

19. Defendant Elaine G. Luria is a Democrat member of the U.S. House of

   Representatives and a member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.

20. Defendant Peter R. Aguilar is a Democrat member of the U.S. House of

   Representatives and a member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.

21. Defendant Stephanie Murphy is a Democrat member of the U.S. House of

   Representatives and a member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.
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22. Defendant Adam D. Kinzinger is a Republican member of the U.S. House of

   Representatives and a member of the Select Committee to Investigate the January 6

   Attack on the United States Capitol.

23. Defendant Select Committee to Investigate the January 6 Attack on the United States

   Capitol (“Select Committee”) is a select committee created by House Resolution 503

   (“H. Res. 503”) passed by the U.S. House of Representatives on June 30, 2021.

24. Defendant Verizon Communications, Inc. has been subpoenaed to provide subscriber

   data about Susanne Gionet to the Select Committee in its role as providing

   telecommunications services to its “subscriber” Mrs. Gionet.

25. Defendant CellCo Partnership d/b/a Verizon Wireless has been subpoenaed to

   provide subscriber data about Susanne Gionet to the Select Committee in its role as

   providing telecommunications services to its “subscriber” Mrs. Gionet.



                         JURISDICTION AND VENUE

26. This Court has subject matter jurisdiction, pursuant to 28 U.S.C § 1331, as the subject

   matter of this action arise from the Constitution of the United States and the laws

   thereunder.

27. This Court also has jurisdiction pursuant to 28 U.S.C. § 1391(b)(2) as a substantial part

   of the events giving rise to the claim that is the subject of the action, is situated is in

   Washington, D.C.

28. This Court has personal jurisdiction over Nancy Pelosi because she, as the Speaker of

   the House of Representatives sponsored H. Res. 503 establishing the Select Committee


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           to Investigate the January 6 Attack on the United States Capitol oversaw the passage

           of such in the House of Representatives in Washington, D.C.

       29. This Court has personal jurisdiction over Chairman Thompson because he presides

           over the Select Committee. He also authorized and signed off on the Subpoenas from

           his office address in Washington, D.C.

       30. This Court also has jurisdiction over Elizabeth L. Cheney, Adam B. Schiff, Jamie B.

           Raskin, Susan E. Lofgren, Elaine G. Luria, Peter R. Aguilar, Stephanie Murphy, and

           Adam D. Kinzinger as members of the Select Committee that issued the Verizon

           Subpoenas from Washington, D.C.

       31. This Court has personal jurisdiction over the Select Committee because it is located

           and operates in Washington, D.C.

       32. This Court has personal jurisdiction over the Verizon Defendants as it has operations

           within Washington, D.C. Verizon also has subscribers and equipment such as towers

           in Washington, D.C. Verizon also advertises service throughout the United States,

           including Washington D.C.

                                      RELEVANT FACTS

       The facts incorporated herein are relevant to all counts and shall be incorporated within

each count as if restated in each count.

       33. On January 6, 2020, a rally was held and a large number of protestors attended along

           with media and counter protestors. Some protestors entered the United States Capitol

           building by force. Some entered peacefully unaware force was previously used. Some

           entered to document the activities the proceeded to take place that day.


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     34. The Department of Justice has selectively chosen to arrest those were present on the

        Capitol grounds regardless of whether they entered the Capitol building or not.

     35. Under information and belief some “Protestors,” such as Ray Epps, led the charge (so

        to speak) and directed people to go into the Capitol.

     36. Ray Epps has never been charged regardless of his participation clearly caught on

        camera by Anthime Gionet as well as other individuals.

     37. Over 725 people have been arrested for storming the Capitol building or some related

        activity on January 6, 2020.

     38. Selective arrests started within several days after January 6, 2020.

     39. Susanne was notified on February 15, 2022, from Verizon that her phone records and

        requested information would be turned over to the Select Committee unless it received

        “a court document challenging the subpoena by February 28, 2022.

     40. Susanne neither attended the rally on January 6, 2021, nor was she even in Washington,

        D.C. on that date.

     41. The Verizon subpoena, issued by the Select Committee on February 1, 2022, instructs

        Verizon to produce subscriber information and cell phone data associated with phone

        numbers on Susanne’s family plan. The requested data includes all detailed logs of

        calls, texts, metadata, email information and larger records of communication for the

        numbers. The data requested can be used to track movement through cell site location

        information (“CSLI”).

I.         THE SELECT COMMITTEE’S VERIZON SUBPOENAS VIOLATES THE

             FORTH AMENDMENT TO THE UNITED STATES CONSTITUTION


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42. The Verizon Subpoenas directs Verizon to produce subscriber information and data

   associated with the account.

43. The requested information includes all subscriber information, connection records and

   records of session time and durations as well as all metadata for the phone numbers,

   including:

   SUBSCRIBER INFORMATION

       a. Name, subscriber name, physical address, billing address, e-mail address, and

           any other address and contact information;

       b. All authorized users on the associated accounts;

       c. All phone numbers associated with the accounts;

       d. Length of service (including start date) and types of service utilized;

       e. Telephone or instrument numbers (including MAC addresses), Electronic

           Serial Numbers (“ESN”), Mobile Electronic Identity Numbers (“MEIN”),

           Mobil Equipment Identifiers (“MEID”), Mobile Identification Numbers

           (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber Integrated

           Services Digital Network Number (MSISDN”), International Mobil Subscriber

           Identifiers (“IMSI”), or International Mobile Equipment Identities (“IMEI”)

           associated with the accounts;

       f. Activation date and termination date of each device associated with the

           accounts;

       g. Any and all number and/or account number changes prior to and after the

           account was activated;


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      h. Other subscriber numbers or identities (including temporarily assigned network

          addresses and registration Internet Protocol (“IP) addresses); and

CONNECTION RECORDS AND RECORDS OF SESSION TIMES AND

DURATIONS:

      a. All call, message (SMS & MMS), Protocol (“IP”), and data-connection detail

          records associated with the Phone Numbers, including all phone numbers, IP

          addresses or devices that communicated with the Phone Number via delivered

          and undelivered inbound, outbound, and routed calls, messages, voicemail, and

          data connections.

THE SELECT COMMITTEE REQUESTS ALL METADATA

      a. BEGDOC, ENDDOC, TEXT, BEGATTACH, ENDATTACH, PAGECOUNT,

          CUSTODIAN, RECORDTYPE, DATE, TIME, SENTDATE, SENTTIME,

          BEGINDATE, BEGINTIME, ENDDATE, ENDTIME, AUTHOR, FROM, CC,

          TO,   BCC,     SUBJECT,     TITLE,     FILENAME,       FILEEXT,      FILESIZE,

          DATECREATED, TIMECREATED, DATELASTMOD, TIMELASTMOD,

          INTMSGID,           INSMSGHEADER,          NATIVELINK,          INTFILPATH,

          EXCEPTION, BEGATTACH.

44. The Fourth Amendment enumerates the right of private citizens to be free from

   unreasonable searches and/or seizures by the government into their persons, houses,

   papers, and effects. Additionally, a person is entitled to a reasonable expectation of

   privacy. Katz v. United States, 389 U.S. 347, 351 (1967). In fact, “The Fourth

   Amendment serves primarily to protect the right to privacy. Senate Select Committee


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   on Ethics v. Packwood, 845 F.Supp. 17, 21 (D.D.C. 1994). See also Carpenter v. U.S.,

   138 S.Ct. 2206, 2213 (2018).

45. Here, in this case the Select Committee seeks to bypass the traditional safeguard of

   needing and obtaining probable cause and a warrant and in doing so skirts the rights of

   United States Citizens to be free from the invasion of privacy as afforded by the Fourth

   Amendment. Sensationally, the Select Committee operates, not just above the law, but

   above the Constitution of the United States bypassing all safeguards put in place by the

   founding fathers specifically to prohibit such abhorrent actions. “The [f]ounding

   generation crafted the Fourth Amendment as a “response to the reviled ‘general

   warrants’ and ‘writs of assistance’ of the colonial era, which allowed British officers

   to rummage through homes in an unrestrained search for evidence of criminal activity.”

   Id.

46. The Select Committee has not been granted a warrant for the requested information.

   Instead, the Select Committee acts as the British officers of the colonial era, rummaging

   through cell data in what one can only imagine is for evidence of criminal activity.

47. Further, the government has proffered no reasonable need for the cell data subpoenaed.

   There has been no showing of the importance of governmental interests alleged to

   justify this intrusion. Packwood at 22. Additionally, one does not automatically

   surrender Forth Amendment protection just because information is held by a third party.

   Carpenter at 2217.

48. The Fourth Amendment does not allow for unfettered ability of the Select Committee

   to issue a sweeping subpoena untethered from any valid legislative purpose. See

   Oklahoma Press Pub. Co. v. Walling, 327 U.S. 186 196 (1946).
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II.      THE SELECT COMMITTEE’S SUBPOENA VIOLATES PRIVILEGED

                        ATTORNEY- CLIENT COMMUNICATIONS

49. The Select Committee has Subpoenaed information and cell records which would

      violate attorney-client privilege. “The attorney-client privilege is one of the oldest

      recognized privileges for confidential communications. Swidler & Berlin v. U.S., 118

      S.Ct. 2081, 2084 (1998). The privilege is so resolute that our courts have consistently

      ruled that it survives death. Id at 2085. The privilege should not be abridged in this

      situation. Especially so given that a criminal case is still pending for Anthime in the

      Federal District Court for the District of Columbia. “A ‘no harm in one more

      exception’ rationale could contribute to the general erosion of the privilege, without

      reference to common-law principles or ‘reason and experience.’” Id at 2087.

50. Here, The Verizon Subpoena requests records from November 1, 2020, through to

      January 31, 2021. Anthime had a pending criminal matter in an Arizona court

      throughout the duration of the requested records by the Select Committee. The matter

      remains pending on appeal. It is long established, “[T]he privilege encourages clients

      to make ‘full and frank’ disclosures to their attorneys, who are then better to provide

      candid advice and effective representation. This, in turn, serves ‘broader public

      interests in the observance of law and administration of justice.’” Mohawk Industries

      v. Carpenter, 130 S.Ct. 599, 606 (2009).

51. Here also, Anthime’s additional criminal case enumerated herein is still pending

      before the Federal Court of the District of Columbia. The violation of Anthime’s

      attorney-client privilege would have a chilling and far-reaching effect for the

      observance of law and the lawful administration of justice.
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III.    THE VERIZON SUBPOENA AND COMPELLED PRODUCTION OF DATA

                            VIOLATES THE FIRST AMENDMENT

   52. The data requested in the Verizon subpoena is all encompassing and discloses who

       spoke to whom and on what dates and time along with many other data points.

   53. Mrs. Gionet is a private citizen and the information requested is private in nature.

   54. The subpoena of Mrs. Gionet’s private cell phone data violates her right to free

       association and a suppressive effect of her free speech rights.

   55. Additionally, as mentioned herein, Anthime Gionet used at least one of the phones to

       engage in privileged discussions with his attorneys.

   56. The phones were also used to engage in private conversations with friends and

       family.

   57. All of the accompanying acts are speech protected by the First Amendment. See

       Buckley v. Valeo, 424 U.S. 1, 64 (1976).

   58. Free speech as protected under the constitution cannot be abridged. In this instance

       the Select Committee has no genuine or lawful purpose for seeking the protected

       information as insisted in the Verizon Subpoena.

   59. Further, the time frame for which the Select Committee seeks to subpoena records is

       far outside the boundaries of the event that took place at the Capitol on January 6,

       2021.

   60. Also, the phones were impounded by the FBI at the time of Anthime Gionet’s arrest.

       What possibly could come from the data requested from the period of his arrest to

       January 31, 2021, as the subpoena demands.


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61. Neither is there a reason to believe nor is there a reason given that the data requested

      will fulfill the scope and purpose of the Select Committee and additionally violates

      Mrs. Gionet’s and Anthime Gionet’s rights to free speech.

IV.      THE VERIZON SUBPOENAS ARE WITHOUT LAWFUL AUTHORITY

62. The Select Committee must have consent from Susanne to obtain the data requested.

      Susanne has not given and will not give consent for the records requested in the

      Verizon Subpoena.

63. H. Res. 503(2)(a) states, “Appointment Of Members—The Speaker shall appoint

      thirteen members to the Select Committee, five of whom shall be appointed after

      consultation with the minority leader.” (emphasis added).

64. Speaker Pelosi failed to fulfill the H. Res. 503 Sec. 2(a) by refusing to select all

      thirteen members. Specifically, Speaker Pelosi failed to fill five positions and instead

      chose the only two republicans who voted for the resolution, Adam Kinzinger and

      Elizabeth Cheney and seven democrats.

65. To date there are only nine members appointed of the thirteen despite the resolution

      requiring 13 members.

66. Further, Speaker Pelosi failed to ever consult with the Minority Leader Kevin

      McCarthy. Therefore, the Subpoenas are not issued by a duly authorized committee

      as the Select Committee itself has not been fully established in accordance with the

      resolution passed by the House of Representatives. H. Res. 503 117th Cong. (2021).

67. Chairman Thompson of the Select Committee derives his capacity to subpoena from

      H. Res. 503 Sec. 5(c)(6) of the Select Committee’s authorizing statute only if the

      Select Committee is and has been established according to the House Resolution that
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   made it so. Additionally, Chairman Thompson may only issue a subpoena upon

   consultation with the ranking minority member.

68. The Select Committee has no Ranking Minority Members. Therefore, any

   subpoena’s issued are done so in violation of the House Resolution and invalid.

69. The issuance of the Verizon subpoenas in this instance runs afoul of the Select

   Committee’s authorizing resolution, making it illegal and unenforceable.



 V.      THE VERIZON SUBPOENAS ARE OVERBROAD AND SERVE NO

                                LEGISLATIVE PURPOSE

70. To be sure, it is widely known that the events that took place on January 6, 2020, are

   what gave rise to the Select Committees establishment.

71. However, the Select Committee seeks an overly broad stretch of dates in the Verizon

   Subpoenas from November 1, 2020, to January 31, 2021.

72. The purpose of the Select Committee is to create report(s) about how to prevent an

   event such as that of January 6, 2020, from occurring again. There is no discernable

   reason that broad cell data as requested in the Verizon subpoena would further the

   purpose of the Select Committee even if it were lawfully obtained.

73. Hundreds of Subpoenas have issued for the same or similar data to be obtained from

   other individuals through Verizon with no clear reasoning as to exactly what the

   Select Committee seeks or expects to find from the records.

74. The Verizon Subpoenas requested breadth and depth of information is akin to a

   impermissible fishing expedition with no clear purpose except to harass citizens in

   violation of several Constitutional and statutory laws as further discussed herein.
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      75. Subpoenas are “not intended to provide a means of discovery.” Cheney v. U.S. Dist.

         Court for Dist. of Columbia, 124 S. Ct. 2576, 2590 (2004). Yet here, it is evident that

         despite the established precedent, the Select Committee seeks to use the subpoena as

         a tool for discovery.

      76. Additionally, standards necessary to support a subpoena request lie with the party

         requesting the information. Id.

      77. No reasons for the broad and sweeping subpoenas have been given, therefore the

         Select Committee has failed to meet their burden.

VI.      THE STORED COMMUNICATIONS ACT PROHIBITS DISCLOSURE SUCH

                            THAT THE SELECT COMMITTEE SEEKS

      78. The Stored Communications Act prohibits entities from being forced to turn over

         content of messages to Congress.

      79. The Stored Communications Act largely provides that “a person or entity providing

         electronic communication service to the public shall not knowingly divulge to any

         person or entity the contents of the communication while in electronic storage by that

         service.” 18 U.S.C. § 2702(a)(1).

      80. It appears the Select Committee is seeking production of the data so that they may later

         subpoena testimony to fill in the content of which is prohibited. Zachary Cohen, Jamie

         Gangel, Katelyn Polantz and Ryan Nobles, Exclusive: January 6 committee casts a

         wide net with over 100 subpoenas for phone records. January 6 committee casts a wide

         net with over 100 subpoenas for phone company records - CNNPolitics.

      81. Here, Verizon is “a person or entity providing electronic communication services to the

         public” within the meaning and purpose of the Stored Communications Act. Therefore
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           Sec. 2702(a)(1) prohibits Verizon from disclosing “the contents of a communication”

           stored by Verizon to the Select Committee absent an express statutory exception as

           outlined in Sec. 2702(b).

       82. Also here, there are neither any statutory exceptions in Sec. 2702(b) that apply to the

           Select Committee’s subpoena, nor are there in Sec. 2702(c).

       83. As previously stated herein, the Select Committee does not have lawful consent from

           Mrs. Gionet to obtain the subpoenaed records and there are no valid exceptions.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff asks this Court to enter judgment in her favor and against

Defendants and to order the following relief:

   a. A declaratory judgment the Verizon Subpoenas are unlawful and therefore unenforceable;

   b. A declaratory judgment the Verizon Subpoenas serve no valid legislative purpose and

       exceeds the Select Committee’s lawful authority;

   c. A declaratory judgment that the Verizon Subpoenas violate Anthime Gionet’s attorney-

       client privilege;

   d. A declaratory judgment that compliance with the Subpoena would violate the Stored

       Communications Act;

   e. A declaratory act that the subpoenas violate Mrs. Gionet’s Due Process right to privacy

       protected by the Fourth Amendment;

   f. A declaratory judgment that if the committee has any information or other subpoenas that

       information must be made available to opposing counsel;

   g. A declaratory judgment that the committee must reveal how they received the number they

       seek to subpoena information for.
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h. An injunction quashing the Subpoenas and prohibiting Verizon from producing any data

   requested by the Select Committee;

i. An injunction prohibiting the Select Committee from reviewing, inspecting, storing, or

   disclosing any data already submitted and requiring the return of such data if it so exists;

j. An injunction prohibiting Defendants from imposing sanctions on either Mrs. Gionet or

   Verizon for noncompliance with the Subpoena;

k. An award in favor of Plaintiff for her reasonable expenses, including attorney’s fees and

   costs, incurred as a result of the issuance of the Verizon subpoenas; and

l. Any and all additional relief the Court deems just and proper.




           Dated this 4nd day of March 2022.
                                                                          Digitally signed by Zachary J.
                                              Zachary J. Thornley Thornley
                                                                  Date: 2022.03.04 14:07:19 -07'00'

                                              Pending Pro Hac Vice Admission

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